 Case 20-33225-KLP                      Doc 12 Filed 11/12/20 Entered 11/13/20 00:19:21                         Desc Imaged
                                             Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Frederick P Wellman                                          Social Security number or ITIN   xxx−xx−8433
                      First Name   Middle Name   Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Virginia

Case number: 20−33225−KLP



Discharge of Debtor                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Frederick P Wellman


           November 9, 2020                                               For the court:             William C. Redden
                                                                                                     Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 20-33225-KLP
Frederick P Wellman                                                                                                    Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0422-7                                                   User: admin                                                                Page 1 of 2
Date Rcvd: Nov 10, 2020                                                Form ID: 318                                                             Total Noticed: 15
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 12, 2020:
Recip ID                   Recipient Name and Address
db                     +   Frederick P Wellman, 2613 Main Street, Richmond, VA 23223-7849
cr                     +   Mercedes-Benz Financial Services USA LLC, c/o BK Servicing, LLC, PO Box 131265, Roseville, MN 55113-0011
15424715               +   Brookfield Properties, 2 S. 25th St., Richmond, VA 23223-7857
15424718               +   First Home Bank / SBA, 9190 Seminole Circle, Seminole, FL 33772-3148
15424720               +   John & Karen Larsen, 2015 Summit Ave., Saint Paul, MN 55105-1461
15424721               +   Lending Club, 595 Market St., Ste. 200, San Francisco, CA 94105-2807
15424722               +   Loanme Inc, 1900 S State College Blv, Anaheim, CA 92806-0101
15424724               +   Prosper Marketplace In, 221 Main Street, San Francisco, CA 94105-1906

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
tr                         Email/Text: bruce.robinson@txitrustee.com
                                                                                        Nov 11 2020 04:09:00      Bruce E. Robinson, 341 Dial 866-769-9218 Code:
                                                                                                                  7515089, P.O. Box 538, South Hill, VA
                                                                                                                  23970-0538
15424716               + EDI: CAPITALONE.COM
                                                                                        Nov 11 2020 06:43:00      Capital One Bank Usa N, Po Box 30281, Salt Lake
                                                                                                                  City, UT 84130-0281
15424717               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Nov 11 2020 04:02:40      Creditonebnk, Po Box 98872, Las Vegas, NV
                                                                                                                  89193-8872
15424719                   EDI: IRS.COM
                                                                                        Nov 11 2020 06:43:00      I.R.S. / Special Procedures, P.O. Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
15424722               + Email/Text: bankruptcy@servicingsolutions.com
                                                                                        Nov 11 2020 04:12:00      Loanme Inc, 1900 S State College Blv, Anaheim,
                                                                                                                  CA 92806-0101
15424723               + EDI: DAIMLER.COM
                                                                                        Nov 11 2020 06:43:00      Mercedes Benz Financia, P.o. Box 961, Roanoke,
                                                                                                                  TX 76262-0961
15424725               + EDI: RMSC.COM
                                                                                        Nov 11 2020 06:43:00      Syncb/care Credit, C/o Po Box 965036, Orlando,
                                                                                                                  FL 32896-0001
15424726                   Email/Text: bkr@taxva.com
                                                                                        Nov 11 2020 04:11:00      Va. Dept. of Taxation, Box 1115, Richmond, VA
                                                                                                                  23218-0000

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
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                                              Certificate of Notice Page 4 of 4
District/off: 0422-7                                             User: admin                                                            Page 2 of 2
Date Rcvd: Nov 10, 2020                                          Form ID: 318                                                         Total Noticed: 15

in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 12, 2020                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 9, 2020 at the address(es) listed
below:
Name                            Email Address
Bruce E. Robinson
                                bruce.robinsontr@gmail.com therese.rogerstra@gmail.com;ecf.alert+Robinson@titlexi.com

David K. Spiro
                                on behalf of Debtor Frederick P Wellman dspiro@sblawva.com r54849@notify.bestcase.com

John P. Fitzgerald, III
                                USTPRegion04.RH.ECF@usdoj.gov


TOTAL: 3
